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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Michael E. Hegarty                                             Tracey Lee
United States Magistrate Judge                                 Deputy Clerk


Case Number: 03-cr-00127-LTB                                   FTR MEH AM
Date: November 15, 2006


UNITED STATES OF AMERICA                                       David Gauoette


       v.

1. Abdul Qayyum                                                Raymond Moore
2. Chris Marie Warren                                          Not present
3. Haroon Rashid                                               Jeff Pagliuca
4. Saima Saima                                                 Marc Milavitz
5. Irfan Kamran                                                Don Knight
6. Sajjad Nasser                                               Not present
7. Imran Khan                                                  Not present


 HEARING ON FIRST MOTION FOR EMERGENCY APPLICATION FOR MATERIAL
                   WITNESS WARRANT AND ORDER

Court in Session: 9:06am

Court calls case and appearances of counsel.

Counsel for defendants Abdul Qayyum, Haroon Rashid, Saima Saima, and Irfan
Kamran are present.

Motion is reviewed and discussed by each counsel present.

The government is not opposed to the motion.

Court addresses each issue in relation to the motion.

Court states that there should be a date certain for the disposition.

The court understands that the person in question is being held by the Department of
Homeland Security, and will grant the issuance of a writ/warrant as needed.
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ORDERED: Motion [614] is GRANTED.

Written order to follow.

Court in Recess: 9:40am

Total time: 14 minutes

Hearing concluded.
